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 Attorneys for Defendants


                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION
__________________________________________
                                           )
ALTAMAHA RIVERKEEPER and                   )
ONE HUNDRED MILES                          )
                                           )
            Plaintiffs,                    )
                                           )
      v.                                   )  Case No. 4:18-cv-00251-JRH-JEG
                                           )
UNITED STATES ARMY CORPS OF                )
ENGINEERS, et al.,                         )
                                           )
            Defendants.                    )
__________________________________________)


          UNITED STATES ARMY CORPS OF ENGINEERS’ RESPONSE
        TO MOTION FOR EXPEDITED CONSIDERATION OF MOTION FOR
                       PRELIMINARY INJUNCTION
       On October 31, 2018, at the same time Plaintiffs filed their Complaint, they also filed a

motion for preliminary injunction of a United States Army Corps of Engineers (“Corps”) permit

issued under Section 404 of the Clean Water Act, 33 U.S.C. § 1344. ECF Nos. 1, 5. Plaintiffs

served the Corps by certified mail the same day. The Corps filed its opposition on November 19,

2018. ECF No. 13. The following day, Plaintiffs filed a motion seeking expedited consideration



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of the motion for preliminary injunction. ECF No. 15. Plaintiffs did not seek expedited

consideration of its motion at the time the motion for preliminary injunction was filed, and have

not sought the Corps’ position on expedited consideration of the motion. See Local Rule 7.1

(“Where practical, parties should indicate whether a motion is unopposed.).

       The Corps does not believe that Plaintiffs have established that the extraordinary relief of

a preliminary injunction is warranted. However, the Corps does not oppose the motion for

expedited consideration. In any event, Plaintiffs have suggested that the Court may wish to hold

a hearing, ECF No. 15, and the Permittee and Proposed Intervenor-Defendant, Sea Island

Acquisition has requested a hearing. ECF No. 19. To the extent the Court intends to schedule a

hearing on the motion for preliminary injunction, lead counsel for the Corps wish to advise the

Court of their availability. Due to the Thanksgiving holiday and scheduled annual leave,

undersigned counsel from the Department of Justice Environment and Natural Resources

Division and United States Attorney’s Office are unavailable today, November 21, through

Friday, November 23, 2018.




 Respectfully submitted November 21, 2018       JEAN E. WILLIAMS
 by                                             Deputy Assistant Attorney General

                                                s/ Martha C. Mann
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